          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:12-cr-00020-MR-DLH-5



UNITED STATES OF AMERICA, )
                           )
                           )
              vs.          )                 ORDER
                           )
                           )
KEITH ARTHUR VINSON.       )
__________________________ )

      THIS MATTER is before the Court on counsel’s Motion to Submit

Interim Fee Application [Doc. 205].

      For the reasons stated therein, the Court will allow counsel’s motion.

      IT IS, THEREFORE, ORDERED that Counsel’s Motion [Doc. 205] is

GRANTED, and counsel may submit an interim fee application for work

performed through the conclusion of the trial of this matter.

      IT IS SO ORDERED.

                                      Signed: October 28, 2013




   Case 1:12-cr-00020-MR-SCR     Document 294          Filed 10/28/13   Page 1 of 1
